EXHIBIT 1
                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

JOSE MARIA DECASTRO,                              :
                                                  :   Case No. 1:22-cv-204
                       PLAINTIFF,                 :
                                                  :
       v.                                         :   JUDGE BARRETT
                                                  :
PAM WAGNER, et al.,                               :   MAGISTRATE JUDGE BOWMAN
                                                  :
                       DEFENDANTS.                :


     LAWRENCE COUNTY DEFENDANTS’ FIRST SET OF REQUESTS FOR
   ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF
                      DOCUMENTS TO PLAINTIFF


       Now come the Lawrence County Defendants, Major Chapman, Jane Doe, and Lawrence

County, by counsel, and propounds the following Admissions, Interrogatories, and Requests for

Production of Documents to Plaintiff, in accordance with Fed.R.Civ.P. 33, 34, and 36 of the

Federal Rules of Civil Procedure, and requests that said produce the following documents and such

Interrogatories and Admissions be answered, in writing, under oath, by said Plaintiff, within thirty

(30) days in accordance with the Federal Rules of Civil Procedure.

                             INSTRUCTIONS FOR ANSWERING

   1. The term “Amended Complaint” refers to the complaint that Jose Maria DeCastro filed in the

       United States District Court for the Southern District of Ohio, Western Division, on September

       15, 2022 (Case No. 1:22-cv-204).

   2. The terms “Plaintiff” and “you” refers to Jose Maria DeCastro.

   3. The term “incident” refers to the claims set forth in the Complaint that occurred on March

       29, 2022.
4. The term “Lawrence County Defendants” refers to John Chapman, Jane Doe, and Lawrence

   County.

5. The term “law enforcement agency” refers to a government agency responsible for enforcing

   the law.

6. The term “law enforcement officer” refers to a police officer employed by a law enforcement

   agency.

7. The term “crime” includes any misdemeanor, felony, and/or infraction.

8. The terms “document” or “documents” shall mean each and every document as defined in

   Federal Rule of Civil Procedure 34 in your possession, custody or control, however and by

   whomever prepared, produced, reproduced, disseminated or made, in any form (including

   without limitation electronically or magnetically stored data), wherever located, whether a

   copy, draft or original, including, but not limited to the following: letters, minutes,

   correspondence, notes or summaries of conversations, memoranda, agreements, desk

   calendars, appointment books, diaries, books, manuals, bulletins, circulars, catalogs, charts,

   electronic mail or e-mail transcripts, text messages, reports, studies, evaluations, analyses,

   graphs, notices, notes, notebooks, journals, statistical records, maps, laboratory results,

   medical records, sketches, data sheets, data compilations, computer data sheets, photographs,

   videotapes, sound recordings, and any other written, printed, typed, recorded or graphic matter

   from which information can be obtained or can be translated through detection devices in a

   reasonably useful form.

9. The term “concerning” means relating to, referring to, describing, evidencing, or constituting.

10. The term “relating to” means constituting or evidencing and directly or indirectly mentioning,

   describing, referring to, pertaining to, being connected with or reflecting upon

   the stated subject matter.

11. To “identify” a person means to state the person’s full name, present or last known home and


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   business address, telephone number(s), the person’s present or last known employer and

   position, and the nature and dates of any past or present affiliation between the person and any

   party to this lawsuit.

12. In answering these discovery requests, you must disclose information that is in your

   possession, custody or control or within the possession, custody or control of your attorneys,

   agents, experts, investigators, or other representatives of you and your legal counsel. If you

   are able to answer part, but not all, of a discovery request, you must answer to the maximum

   extent possible. If you are unable to answer any discovery request because you lack sufficient

   information, you must describe what information you cannot provide and state what efforts

   you have made to obtain the unknown information. Additionally, if any part of your answer

   is based on information belief, you must identify the source of your information and/or the

   basis for your belief.

13. If you refuse to respond to a request for production of documents on the ground of privilege

   or work product, describe the basis of the claim fully and in detail so the Defendant(s) may

   make an informed judgment about whether to move to compel the production of the

   document(s).

14. Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, you are under a continuing

   duty to seasonably supplement all discovery responses. If you later discover or obtain

   additional information that is response to any request to produce, you must submit the

   supplemental documents disclosing that information as promptly and as far in advance of the

   trial date as possible.




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                              REQUESTS FOR ADMISSIONS

Request for Admission No. 1: When you were arrested on March 29/31, 2022, the Ironton Police

Department took possession of your cell phone.

ADMIT OR DENY:




Request for Admission No. 2: You have voluntarily disseminated information, on YouTube,

Facebook, and other social media platforms, regarding controversies involving police officers and

government officials in Lawrence County, Ohio.

ADMIT OR DENY:




Request for Admission No. 3: The Lawrence County Sheriff’s Office, Lawrence County Jail, and

the Lawrence County Defendants have never possessed your iPhone 12 Max Pro.

ADMIT OR DENY:




Request for Admission No. 4: The Amended Complaint does not name John Chapman, Jane Doe,

and/or Lawrence County as Defendants.

ADMIT OR DENY:




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Request for Admission No. 5: Per the Amended Complaint, you are no longer asserting any claim

against Lawrence County.

ADMIT OR DENY:




Request for Admission No. 6: Per the Amended Complaint, you are no longer asserting any claim

against Jane Doe.

ADMIT OR DENY:




Request for Admission No. 7: Per the Amended Complaint, you are no longer asserting any claim

against John Chapman.

ADMIT OR DENY:




Request for Admission No. 8: John Chapman’s request for your social security number did not

violate your constitutional rights.

ADMIT OR DENY:




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                                     INTERROGATORIES

Interrogatory No. 1: Set forth your full name, current address and social security number.

RESPONSE:




Interrogatory No. 2: Set forth the full name, address, and social security number of all persons

assisting you in answering these Interrogatories, Admissions and/or Requests for Production of

Documents.

RESPONSE:




Interrogatory No. 3: If, in the past ten (10) years, you have been convicted of a felony or

misdemeanor, state the name and address of the Court where each proceeding took place, the date

and nature of the original charge against you, the nature of the charge of which you were convicted,

and whether your conviction was based on a guilty plea or as a result of a trial.

RESPONSE:




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Interrogatory No. 4: If, in the past ten (10) years, you have been charged with a crime, provide

the city and state where you were charged with a crime, the date and nature of each charge against

you and circumstances giving rise to each charge.

RESPONSE:




Interrogatory No. 5: If, in the past ten (10) years, you have been incarcerated, please provide the

reason for each incarceration, the city and state where you were incarcerated, and the dates of each

incarceration.

RESPONSE:




Interrogatory No. 6: If you have ever been a party to a lawsuit, state when, where and in what

Court the action was commenced, the case number, the names of the parties other than yourself,

whether you were a plaintiff or defendant, and the nature of the claim involved in the action.

RESPONSE:




Interrogatory No. 7: Describe, in detail, all injuries and symptoms, whether physical, mental, or

emotional, you experienced as a result of the Lawrence County Defendants’ actions and claim to




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have been caused, aggravated, or otherwise contributed to by the incident(s) upon which the

Amended Complaint is based.

RESPONSE:




Interrogatory No. 8: With regard to said injuries, state the name and address of each medical

practitioner who attended to you, the name and address of each consulting physician, the name and

address of each person or laboratory performing any X-Ray or any other tests upon you since the

date of the incident set forth in the Amended Complaint, the dates of each visit to a practitioner

and/or testing, the amounts to date of the respective bills for service and from which of them

written reports have been received.

RESPONSE:




Interrogatory No. 9: During the five years immediately prior your arrest on March 29, 2022, if

you have been confined to a hospital, treated by a physician, psychologist, psychiatrist, or X-rayed

for any reason, give the name and address of each hospital, medical practitioner, and the

approximate date of each confinement or service and state, in general, the reason for such

confinement or services.

RESPONSE:




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Interrogatory No. 10: Since March 29, 2022, if you have been confined to a hospital, treated by

a physician, psychologist, psychiatrist, or X-rayed for any reason, give the name and address of

each hospital, medical practitioner, and the approximate date of each confinement or service and

state, in general, the reason for each confinement or service.

RESPONSE:




Interrogatory No. 11: If there are any injuries or conditions which you claims were caused by the

Lawrence County Defendants’ actions, which are an aggravation of a pre-existing condition, state

which of the injuries or conditions were aggravated and the nature thereof.

RESPONSE:




Interrogatory No. 12: List each job or position of employment, including self-employment, you

have held for each of the five years prior to the March 29, 2022 incident, on the date of the incident,

and following the incident, and for each, set forth the following: the place of employment, name

and address of the employer, date the employment commenced, date of termination, nature of

employment, duties performed, name and address of immediate supervisor, rate of pay or

compensation received, and reason for termination.

RESPONSE:




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Interrogatory No. 13: State your annual gross income from gainful employment for each of the

five years before the date of March 29, 2022, and your year-to-date earnings for 2022 and 2023.

RESPONSE:




Interrogatory No. 14: State the full name and address of each person you intend to call as a

witness, both lay and expert, at trial and provide the subject matter of each person’s anticipated

testimony.

RESPONSE:




Interrogatory No. 15: Provide the name of the individual who posted bond for your release from

the Lawrence County Jail on or about March 29, 2022.

RESPONSE:




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                    REQUESTS FOR PRODUCTION OF DOCUMENTS

Request for Production of Documents No. 1: Provide copies of any documents reviewed

and/or relied upon by you in answering the Requests for Admissions and/or Interrogatories.



Request for Production of Documents No. 2: Provides copies of any photographs that you

may offer into evidence and/or that is relevant to the allegations set forth in the Amended

Complaint.



Request for Production of Documents No. 3: Provide copies of your income tax returns

from five years prior to the incident set forth in the Complaint.



Request for Production of Documents No. 4: Provide copies of all records of any hospital, clinic,

medical doctor, psychologist, counselor, physical therapist, or other medical provider which

provided services for any injury which you claim resulted from the incident set forth in the

Complaint.



Request for Production of Documents. No. 5: Provide copies of any other exhibits not otherwise

requested which you may use as evidence at trial or rely upon in testimony.



Request for Production of Documents No. 6: Provide any and all documents supporting any

damages claim.




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     LAMBERT LAW OFFICE


     Randall L. Lambert (0117987)
     Cassaundra L. Sark (0087766)
     Counsel for Lawrence County Defendants




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                                          VERIFICATION

I, _______________________, hereby state that the foregoing Admissions, Answers to

Interrogatories and Requests for Production of Documents are true and accurate to the best of my

knowledge, belief and recollection.

STATE OF OHIO                    )
                                 )
COUNTY OF ___________            )    SS.


       SWORN TO and SUBSCRIBED in my presence by ________________________ on this

the ______ day of               , 2023.




                                                     ____________________________
                                                     Notary Public




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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Lawrence County Defendants’ First Set of

Requests for Admissions, Interrogatories, and Requests for Production of Documents to Plaintiff

was mailed, postage prepaid, via USPS, on this the 8th day of March 2023 to the following:

Jose Maria DeCastro
1258 Franklin Street
Santa Monica, CA 90404



                                                   LAMBERT LAW OFFICE



                                                   Randall L. Lambert (0117987)
                                                   Cassaundra L. Sark (0087766)
                                                   Counsel for Lawrence County Defendants




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